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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP, an
individual, and REPRESENTATIVE RONNY
JACKSON, an individual,
                                                         Case No. 2:24-cv-00236-Z
                              Plaintiffs,

        V.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware corporation, CBS
BROADCASTING INC., a New York
corporation, and CBS INTERACTIVE INC.,
a Delaware corporation,

                              Defendants.



        Gayle C. Sproul, pursuant to 28 U.S.C. § 1746, declares and says the following under

penalty of perjury:

        1.      I make this declaration based on my personal knowledge and a review of relevant

corporate records. I am over the age of 18 years and am fully competent to testify to the matters

stated in this declaration.

       2.       I am Senior Vice President, Legal Affairs for CBS News and Stations.

       3.       CBS Broadcasting Inc. is a New York corporation with its principal place of

business at 1515 Broadway, New York, NY 10036. CBS News, a division of CBS Broadcasting

Inc., operates out of the CBS Broadcast Center, 524 W 57th St, New York, NY 10019.

       4.       CBS Interactive Inc. is a Delaware corporation with its principal place of business

at 1515 Broadway, New York, NY 10036.
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        5.         Paramount Global is a Delaware corporation with its principal place of business at

1515 Broadway, New York, NY 10036.

        6.         Paramount Global owns CBS Interactive Inc. directly and owns CBS Broadcasting

Inc. indirectly.

        7.         CBS Interactive Inc. operates Paramount Global's network of interactive and

content services, including Paramount+ (formerly CBS All Access), CBSNews.com, and CBS

News 24/7, which are available to Internet users across the country.

        8.         CBS Broadcasting Inc. produces and broadcasts news, public affairs and

entertainment programming. Its CBS News division produces news programming twenty-

four/seven, as well as news and public affairs newsmagazine programs, such as Face the Nation

and 60 Minutes.

        9.         Paramount Global indirectly owns and operates approximately 29 broadcast

television stations across the United States, including in all five of the largest television markets

and in 15 of the top 20 television markets.

        1 O.       Just two of those approximately 29 broadcast television stations in the Paramount

Global corporate family operate from Texas. One is KTVT, owned and operated by CBS Stations

Group of Texas LLC. CBS Stations Group of Texas LLC is a Delaware limited liability company

and operates from Fort Worth, Texas. CBS Stations Group of Texas LLC has one member, CBS

International Inc., in which CBS Broadcasting Inc. indirectly owns a minority stake. The other is

KTXA, owned and operated by Television Station KTXA Inc. Television Station KTXA Inc. is a

Virginia corporation and operates from Fort Worth, Texas. CBS Broadcasting Inc. indirectly owns

a minority stake in Television Station KTXA Inc. Paramount is the ultimate owner of all of the

entities with an interest in CBS Stations Group of Texas LLC or KTXA Inc.




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        11.      Separate and apart from these owned-and-operated stations, CBS News

programming is also distributed across the United States through local "affiliate" stations that are

owned by other corporations (for example, Sinclair, Nexstar, or TEGNA), not by Paramount

Global. KFDA, which operates in Amarillo, Texas, is one such affiliate: it is not owned directly

or indirectly by Paramount Global, nor does any Paramount Global entity have an agency

relationship with KFDA.

        12.      KTXA does not normally air either Face the Nation or 60 Minutes, and did not air

the October 6, 2024 FTN Broadcast or the October 7, 2024 60 Minutes Broadcast. Neither KTVT

or KFDA edited or produced the FTN Broadcast or the 60 Minutes Broadcast at issue. KTVT and

KFDA broadcast the FTN Broadcast and the 60 Minutes Broadcast without addition, deletion, or

other alteration. No CBS local station or affiliate played any role in the editing or production of

the Interview.


       I declare under penalty of perjury that the foregoing is true and correct.



Executed this 4th day of March in New York, New York.




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